        Case 6:11-cr-00001-DWM Document 50 Filed 04/14/11 Page 1 of 2

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                                                                 By'           £.OUFFY
                   IN THE UNITED STATES DISTRICT CO~
                       FOR THE DISTRICT OF MONTANA . MISSOULtI .
                             HELENA DIVISION


UNITED STATES OF AMERICA,
                                               CR II-I-H-DWM
                           Plaintiff,

             vs.
                                        FINDINGS AND RECOMMENDATION
ROBERT SHANE WILKINS,                   CONCERNING PLEA

                           Defendant.


      The Defendant, by consent, has appeared before the undersigned pursuant to

Fed. R. Crim. P. 11 and has entered a plea of guilty to the charges of conspiracy to

sexually exploit children in violation of 18 U.S.C. § 22S1(a),(e) (Count I), sexual

exploitation of children in violation of 18 U.S.C. § 22S1(a) (Count II),conspiracy

to distribute child pornography in violation of 18 U.S.C. § 22S2A(a)(2) (Count

III), distribution of child pornography in violation of 18 U.S.C. § 22S2A(a)(2) as

set forth in the Indictment.   Defendant has agreed to the forfeiture allegations

advanced under 18 U.S.C. § 22S3(a). After examining the Defendant under oath, I

have made the following determinations:

      1. That the Defendant is fully competent and capable of entering an


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          Case 6:11-cr-00001-DWM Document 50 Filed 04/14/11 Page 2 of 2




informed and voluntary plea,

      2. That the Defendant is aware of the nature of the charges against him and

consequences ofpleading guilty to the charges,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offenses charged.

      Therefore, I recommend that the Defendant be adjudged guilty of Counts I

through IV of the Indictment and that sentence be imposed. A presentence report

has been ordered.

      This report is forwarded with the recommendation that the Court defer

a decision rel:ardinl: acceptance until the Court has reviewed the presentence

report.

      DATED this 14th day of April, 2011.




                                       Jer lah C. Lynch
                                       Uni ed States Magistrate Judge




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